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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                     CASE NO.: 18-cv-23420-DPG

 EVELYN J. SCHMITTEN,

        Plaintiff,

 vs.

 NCL (BAHAMAS) LTD,
 a Bermuda Company d/b/a
 NORWEGIAN CRUISE LINE,

       Defendants.
 ______________________________/

                DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES
                         TO PLAINTIFF’S COMPLAINT

        Defendant NCL (BAHAMAS) LTD (“NCL”), by and through its undersigned counsel

 and pursuant to the applicable Federal Rules of Civil Procedure, hereby serves its Answer and

 Affirmative Defenses to Plaintiff’s Complaint.

                                    PRELIMINARY ALLEGATIONS

        1.      Admitted that Plaintiff alleges damages in excess of $75,000.00. Denied as to

 Plaintiff’s entitlement thereto.

        2.      Admitted for purposes of jurisdiction and for this litigation only.

        3.      Admitted.

        4.      Admitted on information and belief, including information furnished by Plaintiff.

        5.      Admitted for purposes of jurisdiction and for this litigation only.

        6.      It is admitted only that NCL was the operator of the vessel on the date of the

 alleged incident.



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         7.     It is admitted only that Plaintiff was a paying passenger on the subject vessel on

 the date of her alleged incident. All other allegations are denied.

         8.     Denied.

         9.     Denied.

         10.    Denied, including subparagraphs (a) through (i).

         11.    Denied.

         12.    Denied.

                                   AFFIRMATIVE DEFENSES

         1.     Plaintiff’s own negligence was the sole proximate cause of her injuries and

 damages and, accordingly, Plaintiff’s claim is barred as a matter of law.

         2.     Plaintiff’s own negligence contributed to the subject accident and her injuries and

 damages and, accordingly, any award to Plaintiff, if any, must be reduced in proportion to her

 own comparative negligence.

         3.     Plaintiff’s injuries and damages, if any, were caused solely by the conduct of third

 persons not subject to the control, direction or supervision of NCL and for which NCL cannot be

 held liable.

         4.     NCL had no actual or constructive notice or knowledge of the alleged

 unreasonably dangerous condition.

         5.     NCL did not create the alleged unreasonably dangerous condition.

         6.     Plaintiff’s claims are barred because there was no unreasonably dangerous or

 hazardous condition that caused her alleged injuries.

         7.     Plaintiff’s claims are barred inasmuch as Plaintiff knew of the existence of any

 alleged danger complained of in the Complaint, realized and appreciated the possibility of injury


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 as a result of the danger and, having a reasonable opportunity to avoid it, voluntarily exposed

 herself to the danger.

         8.     The allegedly dangerous condition was apparent, open and obvious and should

 have been observed by Plaintiff in the ordinary course of her senses, barring any recovery by

 Plaintiff.

         9.     The incident and injuries alleged by Plaintiff, if any, were the result of

 superseding, intervening, and/or unforeseeable causes from which NCL had no duty to protect

 Plaintiff.

         10.    NCL fully discharged its duty to Plaintiff by warning her of any dangers and/or

 unique conditions of the vessel.

         11.    This action is governed by and subject to the terms, limitations, and conditions

 contained within the contract for passage, and NCL adopts and incorporates same in its entirety

 to its Answer by reference.

         12.    Plaintiff’s claims are governed by general maritime law and any recovery by her

 is therefore limited by, and subject to, general maritime law.

         13.    To the extent applicable, any award of damages to Plaintiff must be reduced by

 any collateral source payments.

         14.    The alleged incident and injury may not have been fully disclosed, and therefore

 NCL reserves the right to amend or supplement these Affirmative Defenses with additional

 information if and when such information is discovered.

         WHEREFORE NCL (BAHAMAS) LTD, having fully answered Plaintiff’s Complaint

 and having raised affirmative defenses, demands judgment in its favor, and such other relief as

 this Court deems appropriate.


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                                                 Respectfully Submitted,

                                                 NORWEGIAN CRUISE LINE
                                                 Attorneys for Defendant
                                                 7665 Corporate Center Drive
                                                 Miami, Florida 33126
                                                 Telephone:     (305) 436-4377
                                                 Facsimile:     (305) 468-2132

                                                 By: /s/ Todd Sussman
                                                        Todd Sussman, Esq.
                                                        Florida Bar No. 0084729
                                                        tsussman@nclcorp.com

                                  CERTIFICATE OF SERVICE

        I hereby certify that on this 27th day of September, 2018, I electronically filed the
 foregoing document with the Clerk of Court using CM/ECF. I also certify that the foregoing
 document is being served this day on all counsel of record identified on the attached Service List
 in the manner specified, either via transmission of Notices of Electronic Filing generated by
 CM/ECF or in some other authorized manner for those counsel or parties who are not authorized
 to electronically receive Notices of Electronic Filing.

                                                 By: /s/ Todd Sussman
                                                        Todd Sussman, Esq.

                                          SERVICE LIST

                           Evelyn J. Schmitten vs. NCL (Bahamas) Ltd.
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 Todd Sussman, Esq.                                       Michael A. Goldfarb, Esq.
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